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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

ALEXANDER BAYONNE STROSS                        :
                                                :
               Plaintiff,                       :                CIVIL ACTION # 3:19-cv-1086
                                                :
       vs.                                      :
                                                :
PR ADVISORS, LLC d/b/a PINNACLE                 :                            JURY DEMANDED
REALTY ADVISORS and KARMEN                      :
GARDNER                                         :
                                                :
               Defendant                        :

                              PLAINTIFF’S ORIGINAL COMPLAINT

       Plaintiff Alexander Bayonne Stross respectfully alleges as follows for his original

complaint against PR Advisors, LLC d/b/a Pinnacle Realty Advisors and Karmen Gardner.

                                             PARTIES

       1.      Plaintiff Alexander Stross (“Plaintiff” or “Stross”) is a resident of Austin, Texas.

       2.      Defendant PR Advisors, LLC d/b/a Pinnacle Realty Advisors (“Defendant” or

“PRA”) is a Texas limited liability company, and may be served through its registered agent

BrokerBreakUp.com LLC, 5720 Marquita Ave., Suite 3, Dallas, Texas 75206 USA.

       3.      Defendant Karmen Gardner (“Defendant” or “Gardner”) is an individual who,

upon information and belief, may be personally served at her place of business: Pinnacle Realty

Advisors, 3824 Cedar Springs Rd. 801-7724, Dallas, Texas 75219.

                                    NATURE OF THE CLAIMS

       4.      This is an action for copyright infringement under 17 U.S.C. § 101 et seq. and

violations of the Digital Millennium Copyright Act (“DMCA”), arising in connection with

Defendant’s unauthorized commercial exploitation of one of Plaintiff’s federally registered

photographs.


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                                    JURISDICTION and VENUE

       5.       This Court has subject matter jurisdiction over this action under 17 U.S.C. §§ 101

et seq. (the U.S. Copyright Act); and 28 U.S.C §§ 1331 (federal question) and 1338(a)

(copyrights).

       6.       This Court has personal jurisdiction over the Defendants, and venue in this

District is proper under 28 U.S.C. § 1391(b) and 28 U.S.C. § 1400(a), in that a substantial part of

the acts of infringement complained of herein occurred in this District, a substantial part of

property that is the subject of the action is situated in this District, and because the Defendants

may be found in this District.

                                     CONDITIONS PRECEDENT

       7.       All conditions precedent have been performed or have occurred.

                                       BACKGROUND FACTS

       8.       Stross is an accomplished photographer whose works have appeared in

publications such as People, Country Living, Luxury Home Magazine, Luxe, Refine and New

Home Guide; as well as appearing on billboards, online advertising, and on broadcast shows,

including the Today Show and Yahoo! News with Katy Couric.

       9.       Defendant PRA is a real estate brokerage based in Dallas, Texas, doing business

as Pinnacle Realty Advisors.

       10.      Defendant Karmen Gardner is a licensed real estate agent, sponsored by PRA.

       11.      Stross is the sole author and creator of the photo at issue in this action, a copy of

which is set forth on the following page (the “Photo”).1 As published by Stross, the Photo



1
  The Photo was timely registered with the U.S. Copyright Office on November 10, 2011,
registration number VAu001088759, a true and correct copy of which is attached hereto as
Exhibit A.


                                                  2
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appears with Stross’ name and licensing information directly adjacent to the Photo, as illustrated

below.




         12.   In or around August, 2018, Stross discovered that PRA’s sponsored agent

Gardner was displaying the Photo on her Pinnacle Realty Advisors website, at the following url:

http://www.karmengardner.com/, as illustrated below:




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       13.     Neither Gardner nor PRA obtained Stross’ consent to copy, distribute or display

the Photo, and their use of the same was in all respects unauthorized. Moreover, as displayed on

Gardner’s Pinnacle Realty Advisors website, she omitted attribution to Stross, and failed to

include other important information, including his licensing information. Worse, appearing at

the bottom of the webpage was a false and misleading copyright notice, suggesting that Gardner

and “Zillow” owned the copyright to the Photo, as illustrated below:




       14.     After being contacted by Stross, PRA asserted that it “did not own or control the

website complained of,” and that “the website was the product of Gardner and Zillow.” On that

basis, PRA asserted that it “had no involvement.” However, under Texas law, sponsoring

brokers are liable for the acts of their sponsored agents. See Tex. Occ. Code Ann. § 1101.803;

Maida Dev., LLC v. Tarantino Props., No. 07-16-00014-CV, 2016 Tex. App. LEXIS 8285, at

*17 (Tex. App. – Austin Aug. 2, 2016, pet. denied) (“[a] licensed broker is liable to the

commission, the public, and the broker’s clients for any conduct engaged in under this chapter by

the broker or by a salesperson associated with or acting for the broker.”); Tex. Admin. Code Ch.

22, § 535.2 (providing that a broker is responsible for the acts of its sales agents, and may not

relinquish overall responsibility for the supervision of its sponsored agents). Moreover, the

agency rule of respondeat superior applies to copyright infringement, rendering the principal

liable for the infringing acts of its agent, even if the principal did not commit the infringing act.

See, e.g., S. Miss. Planning & Dev. Dist., Inc. v. Robertson, 660 F. Supp. 1057, 1062 (S.D. Miss.


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1986) (citing Sygma Photo News, Inc. v. High Society Magazine, Inc., 596 F. Supp. 28 (S.D.N.Y.

1984); Shapiro v. H. L. Green Co., 316 F.2d 304, 307 (2d Cir. 1963).

        15.        Stross attempted to obtain fair compensation for the unauthorized use of his

Photo, but Gardner never responded to his correspondence, and PRA stopped communicating

after January 28, 2019.

        16.        Stross now brings this suit for copyright infringement.

                                              COUNT 1:
                                       COPYRIGHT INFRINGEMENT

        17.        Stross realleges and incorporates herein the foregoing paragraphs.

        18.        By her actions alleged above, Defendant Gardner has infringed Stross’ federally

registered copyrights. Specifically, by copying, distributing and/or displaying the Photo without

his consent, Gardner has infringed Stross’ exclusive rights set forth in 17 U.S.C. § 106, and is

liable therefor.

        19.        Upon information and belief, Gardner’s actions constituted willful infringement

of Stross’ copyrights inasmuch as she knew, or had reason to know, that her actions constituted

copyright infringement; and/or because she acted with reckless disregard of Stross’ copyrights.

For instance, upon information and belief, Gardner ignored Stross’ licensing information, and

published the Photo without attribution in an attempt to conceal her infringement.

        20.        As a result of the foregoing, Stross is entitled to actual damages plus profits of the

Defendant; or statutory damages of up to $150,000 per work infringed, plus attorney’s fees and

costs of court. 17 U.S.C. §§ 504, 505.

                                              COUNT 2:
                                       VICARIOUS INFRINGEMENT

        21.        Stross realleges and incorporates herein the foregoing paragraphs.




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          22.   PRA is jointly and severally liable for Gardner’s infringing acts because she was

acting as PRA’s sponsored agent at the time of infringement and/or because PRA had the right

and ability to supervise Gardner’s infringing activities,2 and had a direct financial interest in

those activities by virtue of the fees and/or commissions it derived in connection with her role as

PRA’s sponsored agent, and by virtue of the increased traffic and real estate leads that Garner

and Pinnacle generated through her use of unlicensed photographs such as the photograph at

issue.3

          23.   Upon information and belief, PRA’s actions constituted willful infringement of

Stross’ copyrights inasmuch as it knew, or had reason to know, that its agent’s actions

constituted copyright infringement; and/or because it acted with reckless disregard of Stross’

copyrights by failing to adequately monitor and supervise the marketing activities of its

sponsored agent Gardner.

          24.   As a result of the foregoing, Stross is entitled to actual damages plus profits of the

Defendant; or statutory damages of up to $150,000 per work infringed, plus attorney’s fees and

costs of court. 17 U.S.C. §§ 504, 505.

                                           COUNT 3:
                                         DMCA VIOLATION

          25.   Stross realleges and incorporates herein the foregoing paragraphs.


2
  Indeed, Pinnacle had a legal obligation to supervise Gardner’s activities. See para 14, supra.
3
  See https://www.ihouseweb.com/blog/2016/08/how-to-manage-your-real-estate-website-leads/
(discussing the importance of real estate websites in generating leads); Sanette Tanaka, 20
Seconds for Love at First Sight, Wall Street Journal, March 21, 2013,
http://www.wsj.com/articles/SB10001424127887324077704578360750949646798 (noting that
homebuyers spend 60% of their time reviewing photographs). See, also Playboy Enters., Inc. v.
Webbworld, Inc., 968 F. Supp. 1171, 1177 (N.D. Tex. 1997) (where the court found that the
plaintiff’s photographs acted as a draw for customers by enhancing “the attractiveness of
[defendant’s] website to potential customers.”).



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          26.    Upon information and belief, Gardner violated Section 1202 of the Digital

Millennium Copyright Act (“DMCA”) by omitting his copyright management

information (consisting of his name and licensing information for the Photo), and/or by

inserting false CMI near her display of the Photo in the form of a copyright notice

reading “© 2018 Karmen Gardner & Zillow.” Courts recognize that the omission and/or

falsification of CMI is a serious violation of copyright because it deprives the copyright

owner of professional recognition, and makes it easier for other potential infringers to

compound that injury. See Reilly v. Plot Commerce, No. 15-CV-05118 (PAE) (BCM),

2016 U.S. Dist. LEXIS 152154, at *21-22 (S.D.N.Y. Oct. 31, 2016 quoting Russell W.

Jacobs, Copyright Fraud in the Internet Age, 13 Colum. Sci.& Tech. L. Rev. 97, 147

(Feb. 15, 2012) (section 1202 of the DMCA protects a copyright owner’s “rights of

integrity and attribution,” which in turn protect against “the widespread dispersion of

inauthentic copies”). Upon information and belief, the Gardner’s actions were committed

knowingly, and with the intent to induce, enable, facilitate and/or conceal infringement.

          27.    Upon information and belief, PRA had the right and/or ability to supervise

and/or control the omission and/or falsification of Stross’ CMI, and derived a direct

benefit therefrom,4 and is therefore vicariously liable for the violation of Section 1202 of

the Digital Millennium Copyright.

          28.    As a result of the foregoing, Plaintiff is entitled to actual damages plus the

profits of the Defendants; or in the alternative, statutory damages for each violation in an



4
    See ¶¶ 14, 22 & n. 3, supra.


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amount no less than $2,500 and no more than $25,000, plus costs and attorney’s fees. 17

U.S.C. § 1203(b)(4), (5) & (c).

                                         JURY DEMAND

       29.     Plaintiff asserts his rights under the Seventh Amendment to the U.S. Constitution

and demands, in accordance with Federal Rule of Civil Procedure 38, a trial by jury on all issues.

                                            PRAYER

       Plaintiff prays for:

       A.      An order that Defendants and all persons under their direction, control,

permission or authority be enjoined and permanently restrained from exploiting the Photo;

       B.      An award of actual damages and/or statutory damages under 17 U.S.C. § 504(c);

       C.      An award to Plaintiff of his reasonable costs and attorney’s fees under 17 U.S.C.

§ 505 and 17 U.S.C. § 1203(b)(4), (5) & (c);

       D.      Prejudgment and post-judgment interest on any damage award as permitted by

law; and

       E.      Such other and further relief as the Court may deem just, proper and/or necessary

under the circumstances.

                                     Dated this 6th Day of May, 2019

                                     LAW OFFICE OF BUCK MCKINNEY, PC


                                     /s/ R. Buck McKinney
                                     R. Buck McKinney
                                     State Bar No. 00784572
                                     408 W. 11th St., Fifth Floor
                                     Austin, Texas 78701
                                     Telephone: 512/236-0150
                                     Fax: 512/444-1879
                                     mckinney@buckmckinney.com
                                     ATTORNEY FOR PLAINTIFF ALEXANDER STROSS


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